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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                            SOUTHERN DIVISION


MATTHEW THOMAS HOUFF,                                 4:22-CV-04070-KES
                    Petitioner,                   GOVERNMENT’S ANSWER
       vs.                                        TO PETITIONER’S MOTION
                                                 TO VACATE, SET ASIDE, OR
UNITED STATES OF AMERICA,                           CORRECT SENTENCE

                    Respondent.


      Pursuant to Rule 5 of the Rules for § 2255 Proceedings, the United States

makes its answer to the allegations set forth in Petitioner’s motion.

                 RESPONSE TO PETITIONER’S ALLEGATIONS

      The United States hereby denies each and every allegation set forth in the

motion unless expressly admitted herein.

      Petitioner has failed to state a claim for relief.

      The United States refers the parties and this Court to the memorandum

in support of this answer, which is incorporated herein by reference.

      Dated and electronically filed September 28, 2022.

                                              ALISON J. RAMSDELL
                                              United States Attorney
                                              /s/ Eric Kelderman
                                              ________________________________
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                           CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on September 28, 2022, a true and

correct copy of the Government’s Answer to Petitioner’s Motion to Vacate, Set

Aside, or Correct Sentence was served upon petitioner by placing the same in

U.S. first-class mail, addressed as follows:

      Matthew Houff
      #79393-112
      Three Rivers FCI
      Inmate Mail/Parcels
      P.O. Box 4200
      Three Rivers, TX 78071

      Dated and electronically filed September 28, 2022.

                                      ALISON J. RAMSDELL
                                      United States Attorney

                                      /s/ Eric Kelderman
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